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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

 DAVID HOFFMAN,                             )
                                            )
                     Plaintiff,             )
                                            )
 vs.                                        )   Case No. 17-CV-299-NJR-DGW
                                            )
 THE RECEIVABLE MANAGEMENT                  )
 SERVICES CORPORATION and DOES              )
 1-4,                                       )
                                            )
                     Defendants.            )


                       JUDGMENT IN A CIVIL ACTION

 DECISION BY THE COURT.

       IT IS ORDERED AND ADJUDGED that pursuant to the Stipulation for

 Dismissal filed on January 22, 2018, the action is DISMISSED with prejudice.

       DATED: January 23, 2018


                                                JUSTINE FLANAGAN, Acting Clerk

                                                By: s/_Deana Brinkley_____________
                                                  Deputy Clerk

 APPROVED: s/ Nancy J. Rosenstengel______
          NANCY J. ROSENSTENGEL
          United States District Judge
